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                                  UNITED STATES DISTRICT COURT
                                  EASTERN DISTRICT OF KENTUCKY
                                        CENTRAL DIVISION
                                           FRANKFORT
                                       No. 3:17-cv-00094-GFVT

  JUDICIAL WATCH, INC.,                              )
                                                     )
         Plaintiff
                                                     )
  V.                                                 )
                                                     )
  UNITED STATES OF AMERICA,                          )
                                                     )              STATUS REPORT
          Plaintiff-Intervenor,                      )
                                                     )
  V.                                                 )
                                                     )
  MICHAEL ADAMS in his official capacity             )
  as Secretary of State, et al.,                     )
                                                     )
         Defendants                                  )


                                       ** ** ** ** ** ** ** **

         Comes Michael Adams, in his official capacity as Kentucky Secretary of State (“Secretary

  Adams”), by counsel, and submits the following Status Report regarding his views of the pending

  matter and status of compliance under the Consent Decree.

         Secretary Adams, during his campaign to become the Commonwealth’s chief elections

  official, utilized the following slogan: “Let’s make it easy to vote and hard to cheat.” Indeed,

  cleaning up the voter rolls was one of the primary issues on which Secretary Adams ran. Following

  a change of leadership on January 6, 2020, the Office of Secretary of State is committed to legally

  compliant voter rolls, and specifically to remediation of the lack of list maintenance over the prior

  eight years. In order to decrease confusion regarding the marking of the voters who are sent the

  National Voter Registration Act (“NVRA”) Section 8(d)(2) notice in the Voter Registration




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  System, Secretary Adams recommends that the State Board of Elections mark these voters within

  the Voter Registration System at the time of mailing of the notice.

         While Secretary Adams applauds the work done by the State Board of Elections to come

  into NVRA compliance over time, he has taken independent action to more promptly effectuate

  the cleanup of Kentucky’s voter rolls. In his bipartisan agreement with Governor Andy Beshear

  for the conduct of the June 23 elections, as incorporated by an emergency regulation promulgated

  by the State Board of Elections to implement the agreement, Secretary Adams won the following

  concessions:

                 The State Board of Elections shall send a non-forwarding postcard
                 to every registered voter of the Commonwealth to inform them of
                 the changes being made to the June 23, 2020 elections as a result of
                 the COVID-19 pandemic, as well as the steps the voter must take to
                 request an absentee ballot through the SBE secure online portal or
                 by calling their County Clerk. . . . The postcard shall have a return
                 address of the State Board of Elections, and any postcard returned
                 as undeliverable, or with a forwarding address, will be tracked and
                 the process for list maintenance established in KRS 116.112 shall
                 be followed.

                 No later than July 31, 2020, the State Board of Elections shall send
                 via United States Postal Service, to every registered voter on its
                 inactive voter list, written correspondence from the Secretary of
                 State that prompts such inactive voter to confirm in writing to the
                 State Board of Elections whether the inactive voter has moved out
                 of Kentucky and is ineligible to vote in Kentucky. The mailed
                 correspondence shall include for the inactive voter’s benefit a return
                 letter pre-addressed to the State Board of Elections which includes
                 an affirmation of intent, to be attested to by the voter’s signature, to
                 be removed from the voter file. The State Board of Elections
                 immediately remove from the voter file the registration of any voter
                 who consents in writing to such removal.

  (31 KAR 4:191E, attached hereto as Exhibit A, at sections 4 and 15). Thus, in addition to

  compliance with the Consent Decree, the Commonwealth now is taking proactive steps to get its




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  voter rolls as clean as possible in advance of the earliest NVRA-permissible purgation following

  the November 2022 election.

         Secretary Adams will work with the parties to this action, and anyone else, to ensure

  compliance with federal and state law, and improve public confidence in Kentucky’s elections.

                                              Respectfully submitted,


                                              /s/ Michael R. Wilson
                                              Michael R. Wilson (michael.wilson@ky.gov)
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                                              capacity as Secretary of State of Kentucky




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                                   CERTIFICATE OF SERVICE

         I hereby certify that on July 15, 2020, I electronically filed the foregoing with the Clerk
  of Court using the CM/ECF system, which will send a notice of the electronic filing to all
  counsel of record.

                                                        /s/ Michael R. Wilson
                                                        Counsel for Defendant Michael G. Adams,
                                                        in his official capacity as Secretary of State




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